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                        UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF DELAWARE

In re                                     )
                                          )                Chapter 11
24 HOUR FITNESS WORLDWIDE, INC., et       )
al.,                                      )                Case No. 20-11558 (KBO)
                                          )                         20-11568
           Debtors.                       )                (Joint Administered)
__________________________________________)
                                          )
24 HOUR FITNESS WORLDWIDE, INC.,          )
                                          )
          Plaintiff,                      )
v.                                        )
                                          )
CONTINENTAL CASUALTY COMPANY;             )                Adv. Proc. No. 20-51051 (KBO)
ENDURANCE AMERICAN SPECIALTY              )
INSURANCE COMPANY; STARR SURPLUS          )
LINES INSURANCE COMPANY; ALLIANZ          )
GLOBAL RISKS US INSURANCE COMPANY; )
LIBERTY MUTUAL INSURANCE COMPANY; )
BEAZLEY-LLOYD’S SYNDICATES 2623/623; )
ALLIED WORLD NATIONAL ASSURANCE           )
COMPANY; QBE SPECIALTY INSURANCE          )
COMPANY; and GENERAL SECURITY             )
INDEMNITY COMPANY OF ARIZONA,             )
                                          )
         Defendant.                       )
__________________________________________)

               MOTION AND ORDER FOR ADMISSION PRO HAC VICE

        Pursuant to Local Rule 9010-1 and the below certification, counsel moves the admission
pro hac vice of Ferdusi Z. Chowdhury, Esquire of Hinshaw & Culbertson LLP to represent
defendants, Starr Surplus Lines Insurance Company, Beazley-Lloyd’s Syndicates 2623/623, and
Allied World National Assurance Company, in this action.
                                                           HOGAN♦McDANIEL
                                                           /s/ Garvan F. McDaniel
                                                           Garvan F. McDaniel (DE #4167)
                                                           1311 Delaware Avenue
                                                           Wilmington, DE 19806
                                                           Tel: (302) 656-7596
                                                           gfmcdaniel@dkhogan.com
                                                           Counsel for Defendants
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         CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

        Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am
admitted, practicing and in good standing as a member of the bar of the State of New York, and
submit to the disciplinary jurisdiction of this Court for any alleged misconduct which occurs in the
preparation or course of this action. I also certify that I am generally familiar with this Court’s
Local Rules and with the Standing Order for District Court Fund revised 8/31/16. I further certify
that the annual fee of $25.00 has been paid to the Clerk of Court for District Court.

Dated: March 29, 2022


                                              /s/ Ferdusi Z. Chowdhury
                                              Ferdusi Z. Chowdhury (NY Bar No. 4854162)
                                              Hinshaw & Culbertson LLP
                                              800 Third Avenue, 13th Floor
                                              New York, NY 10022
                                              Tel: (212) 655-3803
                                              fchowdhury@hinshawlaw.com
                                              Counsel for Defendants


                                ORDER GRANTING MOTION

IT IS HEREBY ORDERED that counsel’s motion for admission Pro Hac Vice is granted.




   Dated: March 29th, 2022                            KAREN B. OWENS
   Wilmington, Delaware                               UNITED STATES BANKRUPTCY JUDGE
